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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

SFA SYSTEMS, LLC,
   a Texas Limited Liability Corporation,
Plaintiff,
                                                         Case No. 6:08-cv-142
     v.
                                                         Jury Demanded
1. NetSuite, Inc.;
2. CDC Corporation;
3. CDC Software, Inc. a/k/a CDC Software;
4. The Cobalt Group, Inc.; and
5. OnStation Corporation, d/b/a OnStation,
   Inc.
Defendants.



               FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

          For its Complaint against NetSuite, Inc., CDC Corporation, CDC Software, Inc. a/k/a

CDC Software, The Cobalt Group, Inc., and OnStation Corporation, d/b/a OnStation, Inc.,

(collectively the “Defendants”), Plaintiff SFA Systems, LLC (“SFA”) alleges as follows.

                                            PARTIES

          1.     SFA Systems, LLC is a Texas Limited Liability Company with its principal place

of business at 207 B North Washington Avenue, Marshall, Texas 75670. SFA was formerly

known as Triton IP, LLC.

          2.     On information and belief, Defendant NetSuite, Inc. (“NetSuite”) is a Delaware

corporation with its corporate headquarters and principal place of business at 2955 Campus

Drive, Suite 100, San Mateo, CA 94403. NetSuite is qualified to do business in the State of

Texas and has appointed Corporation Service Company, 701 Brazos Street, Suite 1050, Austin,

TX 78701 as its agent for service of process.
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       3.      On information and belief, Defendant CDC Corporation (“CDC”) is a Cayman

Islands corporation with its North American headquarters at 2 Concourse Parkway, Suite 800,

Atlanta, GA 30328.

       4.      On information and belief, Defendant CDC Software, Inc. a/k/a CDC Software, a

subsidiary of CDC Corporation, (“CDC Software”) is a Delaware corporation with its corporate

headquarters and principal place of business at 2 Concourse Parkway, Suite 800, Atlanta, GA

30328. CDC Software has appointed The Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, DE 19801 as its agent for service of process.

       5.      On information and belief, Defendant The Cobalt Group, Inc. (“Cobalt”) is a

Delaware corporation with its corporate headquarters and principal place of business at 2200

First Avenue S, Suite 400, Seattle, WA 98134. Cobalt has appointed The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801 as its agent for

service of process.

       6.      On information and belief, Defendant OnStation Corporation, d/b/a OnStation,

Inc., (“OnStation”) is a California corporation with its corporate headquarters and principal place

of business at 2200 First Avenue S, Suite 400, Seattle, WA 98134. OnStation has appointed CT

Corporation System, 818 West Seventh Street, Los Angeles, CA 90017 as its agent for service of

process.

                                JURISDICTION AND VENUE

       7.      This action arises under the patent laws of the United States, Title 35 of the

United States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1338(a).

       8.      On information and belief, Defendants are subject to this Court’s specific and

general personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due at

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least to their substantial business in this forum, including: (i) at least a portion of the

infringements alleged herein; and (ii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, and/or deriving substantial revenue from goods and services

provided to individuals in Texas and in this Judicial District.

        9.      Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On

information and belief, each Defendant has a regular and established place of business in this

district, has transacted business in this district and has committed and/or induced acts of patent

infringement in this district.

                      INFRINGEMENT OF U.S. PATENT NO. 6,067,525

        10.     SFA is the owner by assignment of United States Patent No. 6,067,525 (“the ‘525

patent”) entitled “Integrated Computerized Sales Force Automation System,” a true copy of

which is attached as Exhibit A. The ‘525 patent was issued on May 23, 2000.

        11.     Defendant NetSuite has been and now is directly infringing, and indirectly

infringing by way of inducing infringement by others and/or contributing to the infringement by

others of the ‘525 patent in the State of Texas, in this judicial district, and elsewhere in the

United States by making, using, offering for sale, and/or selling computer software products and

services, including, without limitation, customer relationship management software products and

services, enterprise resource management software products and services, partner relationship

management software products and services, supplier relationship management software

products and services, supply chain management software products and services, sales force

automation software products and services, sales force management software products and

services, financial management software products and services, human capital management

software products and services, customer order management software products and services,

corporate performance management software products and services, human capital management

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software products and services, business analytics software products and services, sales software

products and services, and marketing software products and services, that are covered by one or

more claims of the ‘525 patent to the injury of SFA. These products and services include,

without limitation, NetSuite, NetSuite CRM, NetSuite CRM+. Defendant NetSuite is thus liable

for infringement of the ‘525 patent pursuant to 35 U.S.C. § 271.

       12.     Defendant CDC has been and now is directly infringing, and indirectly infringing

by way of inducing infringement by others and/or contributing to the infringement by others of

the ‘525 patent in the State of Texas, in this judicial district, and elsewhere in the United States

by making, using, offering for sale, and/or selling computer software products and services,

including, without limitation, customer relationship management software products and services,

enterprise resource management software products and services, partner relationship

management software products and services, supplier relationship management software

products and services, supply chain management software products and services, sales force

automation software products and services, sales force management software products and

services, financial management software products and services, human capital management

software products and services, customer order management software products and services,

corporate performance management software products and services, human capital management

software products and services, business analytics software products and services, sales software

products and services, and marketing software products and services, that are covered by one or

more claims of the ‘525 patent to the injury of SFA. These products and services include,

without limitation, CDC Market First. Defendant CDC is thus liable for infringement of the ‘525

patent pursuant to 35 U.S.C. § 271.

       13.     Defendant CDC Software has been and now is directly infringing, and indirectly

infringing by way of inducing infringement by others and/or contributing to the infringement by

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others of the ‘525 patent in the State of Texas, in this judicial district, and elsewhere in the

United States by making, using, offering for sale, and/or selling computer software products and

services, including, without limitation, customer relationship management software products and

services, enterprise resource management software products and services, partner relationship

management software products and services, supplier relationship management software

products and services, supply chain management software products and services, sales force

automation software products and services, sales force management software products and

services, financial management software products and services, human capital management

software products and services, customer order management software products and services,

corporate performance management software products and services, human capital management

software products and services, business analytics software products and services, sales software

products and services, and marketing software products and services, that are covered by one or

more claims of the ‘525 patent to the injury of SFA. These products and services include,

without limitation, CDC Market First. Defendant CDC Software is thus liable for infringement

of the ‘525 patent pursuant to 35 U.S.C. § 271.

       14.     Defendant Cobalt has been and now is directly infringing, and indirectly

infringing by way of inducing infringement by others and/or contributing to the infringement by

others of the ‘525 patent in the State of Texas, in this judicial district, and elsewhere in the

United States by making, using, offering for sale, and/or selling computer software products and

services, including, without limitation, customer relationship management software products and

services, enterprise resource management software products and services, partner relationship

management software products and services, supplier relationship management software

products and services, supply chain management software products and services, sales force

automation software products and services, sales force management software products and

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services, financial management software products and services, human capital management

software products and services, customer order management software products and services,

corporate performance management software products and services, human capital management

software products and services, business analytics software products and services, sales software

products and services, and marketing software products and services, that are covered by one or

more claims of the ‘525 patent to the injury of SFA. These products and services include,

without limitation, Cobalt’s OnStation. Defendant Cobalt is thus liable for infringement of the

‘525 patent pursuant to 35 U.S.C. § 271.

       15.     Defendant OnStation has been and now is directly infringing, and indirectly

infringing by way of inducing infringement by others and/or contributing to the infringement by

others of the ‘525 patent in the State of Texas, in this judicial district, and elsewhere in the

United States by making, using, offering for sale, and/or selling computer software products and

services, including, without limitation, customer relationship management software products and

services, enterprise resource management software products and services, partner relationship

management software products and services, supplier relationship management software

products and services, supply chain management software products and services, sales force

automation software products and services, sales force management software products and

services, financial management software products and services, human capital management

software products and services, customer order management software products and services,

corporate performance management software products and services, human capital management

software products and services, business analytics software products and services, sales software

products and services, and marketing software products and services, that are covered by one or

more claims of the ‘525 patent to the injury of SFA. These products and services include,




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without limitation, Cobalt’s OnStation. Defendant OnStation is thus liable for infringement of

the ‘525 patent pursuant to 35 U.S.C. § 271.

        16.      On information and belief, to the extent any marking was required by 35 U.S.C. §

287, all predecessors in interest to the ‘525 Patent complied with such requirements.

        17.      To the extent that facts learned in discovery show that Defendants’ infringement

of the ‘525 patent is or has been willful, Plaintiff reserves the right to request such a finding at

time of trial.

        18.      As a result of the above Defendants’ infringement of the ‘525 patent, SFA has

suffered monetary damages that are compensable under 35 U.S.C. § 284 in an amount not yet

determined, and will continue to suffer such monetary damages in the future unless Defendants’

infringing activities are permanently enjoined by this Court.

        19.      Unless permanent injunctions are issued enjoining these Defendants and their

agents, servants, employees, attorneys, representatives, affiliates, and all other acting on their

behalf from infringing the ‘525 patent, SFA will be greatly and irreparably harmed.

        20.      This case presents exceptional circumstances within the meaning of 35 U.S.C. §

285 and SFA is thus entitled to an award of its reasonable attorneys’ fees.

                                     PRAYER FOR RELIEF

        WHEREFORE, SFA requests that this Court enter:

        1.       A judgment in favor of SFA that Defendants have infringed, directly and

indirectly, by way of inducing and/or contributing to the infringement of the ‘525 patent;

        2.       A permanent injunction, enjoining Defendants and their officers, directors, agents,

servants affiliates, employees, divisions, branches subsidiaries, parents, and all others acting in

active concert therewith from infringement, inducing the infringement of, or contributing to the

infringement of the ‘525 patent;

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        3.      A judgment and order requiring Defendants to pay SFA its damages, costs,

expenses, and prejudgment and post-judgment interest for Defendants’ infringement of the ‘525

patent as provided under 35 U.S.C. § 284;

        4.      An award to SFA of restitution of the benefits Defendants’ have gained through

their unfair, deceptive, or illegal acts;

        5.      A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to SFA its reasonable attorneys’ fees; and

        6.      Any and all other relief for which the Court may deem SFA entitled.



                                   DEMAND FOR JURY TRIAL

        Plaintiff SFA, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

jury of any issues so triable by right.




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Date: April 29, 2008                    Respectfully submitted,

                                        SFA SYSTEMS, LLC

                                         /s/Andrew Wesley Spangler

                                        Andrew Wesley Spangler
                                        Lead Counsel
                                        Spangler Law PC
                                        208 N. Green Street, Suite 300
                                        Longview, TX 75601
                                        Telephone: (903) 753-9300
                                        Facsimile: (903) 553-0403 Fax
                                        Email: spangler@spanglerlawpc.com

                                        John J. Edmonds
                                        Texas State Bar No. 00789758
                                        THE EDMONDS LAW FIRM
                                        709 Sabine Street
                                        Houston, Texas 77007
                                        Telephone: (713) 858-3320
                                        Facsimile: (832) 767-3111
                                        Email: johnedmonds@edmondslegal.com

                                        David M. Pridham
                                        R.I. State Bar No. 6625
                                        Law Office of David Pridham
                                        25 Linden Road
                                        Barrington, Rhode Island 02806
                                        Telephone: (401) 633-7247
                                        Facsimile: (401) 633-7247
                                        E-mail: david@pridhamiplaw.com

                                        Counsel for Plaintiff
                                        SFA SYSTEMS, LLC




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